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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF LOUISIANA

IN RE:         EMPLOYERS’ SELF INSURERS FUND                        CASE NO: 12-11512

               DEBTOR                                               CHAPTER 7


                                           ORDER

       Considering the Application for Payment of Unclaimed Funds filed by Virginia L. Course,

Administratrix of the Estate of Tommy Edward Green, the supporting documentation, the record of

the case and applicable law,

       IT IS ORDERED that Monica M. Menier, Clerk of Court, United States Bankruptcy Court,

Middle District of Louisiana, pay to:

                      Virginia L. Rouse, Administratrix
                      P.O. Box 299
                      Marshall, Texas 75671-0299

the sum of $86,640.87, being the amount belonging to the creditor Tommy Green and deposited

into the treasury of this Court following entry of Order on August 7, 2018.

       Baton Rouge, Louisiana, December 4, 2018.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE
